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                                 10
                                 11
                                 12                             UNITED STATES DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                                 13                                SAN FRANCISCO DIVISION

                                 14    MASTEROBJECTS, INC.,                        Case No. 3:21-cv-05428 WHA (DMR)
                                 15
                                                         Plaintiff,                PLAINTIFF MASTEROBJECTS, INC.’S
                                 16           v.                                   REPLY TO DEFENDANT META
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                                                                                   PLATFORMS, INC.’S OPPOSITION TO
  San Francisco, CA 94111




                                 17    META PLATFORMS, INC.,                       MASTEROBJECTS’ MOTION FOR
                                                                                   SANCTIONS
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                                 18
                                                         Defendant.
                                 19                                                Date: August 25, 2022
                                                                                   Time: 8:00 a.m.
                                 20                                                Judge: Hon. William Alsup
                                                                                   Courtroom: 12, 19th Floor
                                 21
                                                                                   Complaint Filed: February 5, 2020
                                 22                                                Trial Date: November 7, 2022

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                                      MASTEROBJECTS’ REPLY TO META’S OPPOSITION          ii             CASE NO. 3:21-cv-05428 WHA (DMR)
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                                  1   I.     INTRODUCTION AND SUMMARY.
                                  2          Why didn’t Meta simply disclose to MasterObjects the Unicorn typeahead (“TA”)
                                  3
                                      Verticals, the                                   ? Meta concedes that both contain
                                  4
                                                                                                                                   . Meta
                                  5
                                  6   agrees that it loads these                                 into the two Unicorn backend Verticals.

                                  7
                                  8
                                  9
                                      Meta likewise concedes that it uses these Verticals as part of the process to

                                                                   .
                                                                                                                             -
                                             From filing forward, one critical dispute has been whether TA’s server backend had a
                                 10
                                      cache built from or containing prior search session data. Meta adamantly said no; MasterObjects
                                 11
                                 12   diligently sought to prove otherwise. It is very implausible that Meta and its counsel never even

                                 13   considered whether MasterObjects might “reasonably credit” Meta evidence directly contradicting

                                 14   Meta’s “no cache” advocacy position.
                                 15
                                             Meta defends its discovery record in two contradictory ways. It first says that it did
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                                      disclose by producing two cryptic documents (out of the 400,000 pages produced), and by
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                                 17
                                      producing 11 million source code files, almost all unrelated to TA. Meta has no serious argument
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                                 18
                                 19   that it disclosed fairly. The discovery record reveals that Meta worked hard to screen out relevant

                                 20   documents, and carefully crafted interrogatory responses that omitted the most critical points.
                                 21
                                      Meta’s failure to disclose took real effort, and could not be the result of mere inadvertence.
                                 22
                                             This motion turns on Meta’s second justification for its disclosure record. Under Paragraph
                                 23
                                      25 of this Court’s Supplemental CMC Order, Meta and its counsel had a duty to produce evidence
                                 24
                                 25   contradicting its advocacy position, even if not sought in discovery, if that evidence “might

                                 26   reasonably be credited by the judge or jury or opposing counsel.” Under this Paragraph, Meta
                                 27
                                      counsel had a duty to correct testimony or discovery responses that it knew or learned to be
                                 28
                                      incorrect. As the Order itself recognizes, the provisions of Paragraph 25 represent a departure


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                                  1   from the typical rule that a party has no duty to volunteer adverse information.
                                  2           Meta’s brief works hard to persuade this Court that Meta and its counsel neither did nor
                                  3
                                      reasonably could “realize” that MasterObjects might value evidence undercutting Meta’s litigation
                                  4
                                      position. Stripped of invective, and put plainly, Meta’s justification of its “never realized”
                                  5
                                  6   argument is as follows:

                                  7           1.      Meta finds comfort in William Pei and Bobby Zhou denying that the two Verticals
                                  8   at issue (once disclosed) were caches. Of course they did. But neither are judge nor jury, and this
                                  9
                                      litigation testimony has nothing to do with shaping fair discovery.
                                 10
                                              2.      Meta also argues that the claimed “cache” must be entirely distinct from a different
                                 11
                                 12   “content source,” and that the                        are content sources not caches. See, e.g., Opp.

                                 13   (ECF 173) at 10:16-11:6.

                                 14           3.      And, Meta argues that its Verticals are not built using                             ,
                                 15
                                 16
                                      see id. at 12:9-18, and that its
                                                                         -      does not contain this information. See id. at 20:4-5.
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                                              On this construct, Meta concludes that it never did nor possibly could credit a
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                                 17
                                      MasterObjects contrary view. Meta so argues that its litigation position was so incontrovertibly
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                                 18
                                 19   correct that it never even considered whether MasterObjects might think otherwise. Meta then

                                 20   concludes that it had no duty to produce adverse evidence, and could do so without any disclosure
                                 21
                                      to MasterObjects.
                                 22
                                              Meta did exactly what Paragraph 25 prohibits. Meta’s quarrel about the meaning of the
                                 23
                                      word “cache” is a semantic debate, not a justification for withholding evidence. MasterObjects
                                 24
                                 25   understood that Meta was finding safe harbor in its cache meaning quibbles, and so asked questions

                                 26   at deposition and propounded discovery carefully not using the word “cache,” but instead inquiring
                                 27
                                      into server-side “components,” “data sources,” and the like.
                                 28
                                              The truth about what happened is found in Meta’s own discovery responses. Meta worked


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                                  1   hard to screen out adverse evidence. For example, out of 400,000 pages produced, Meta now
                                  2   selects just two cryptic documents that elliptically reference the relevant Verticals; is it Meta’s
                                  3
                                      position that these cryptic documents are the only and best documents it has explaining its TA
                                  4
                                      backend function? With the benefit of hindsight, Meta carefully crafted its interrogatory responses
                                  5
                                  6
                                  7
                                  8
                                      to disclose many irrelevant functions, while never mentioning the two Verticals containing
                                                                                                                                       •
                                                         , nor how it built these Verticals, nor the role these Verticals played in providing

                                                         . Put charitably, it is implausible to believe that such strategic omissions were
                                  9
                                      inadvertent.
                                 10
                                              There is another critical point here, too. If Meta genuinely believed that the
                                 11
                                 12   were “content sources,” and that a cache cannot be a content source, as it now contends, the

                                 13   withheld evidence was directly relevant to asserted MasterObjects claims that do not contain

                                 14   “cache” limitations. This evidence was also directly relevant to Masterobjects asserted claims that
                                 15
                                      refer to a “content source” that responds to partial client queries. Meta knew of these asserted
                                 16
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                                      claims. Meta’s own invalidity expert served an 832-page report dissecting these very claims
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                                 17
                                      exactly.
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                                 18
                                 19           Meta may certainly argue the facts. But Meta had a duty to produce the facts. If a party

                                 20   could assume its own litigation position inevitably correct, and so withhold evidence to the
                                 21
                                      contrary, litigation today would be far simpler. But jury trials would not be decided on the facts
                                 22
                                      or the truth.
                                 23
                                      II.     META DID NOT DISCLOSE FAIRLY.
                                 24
                                 25           Meta’s contention that it disclosed fairly is perfunctory. It first argues that it fairly

                                 26   disclosed by producing two cryptic documents containing the same schematic referencing the
                                 27
                                      backend Verticals. These two documents are not dated, nor identify the author. They were
                                 28
                                      produced in a case where Meta witnesses and Meta discovery responses denied any server-side


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                                  1   cache or component or store containing prior session data. In context, there is no way these two
                                  2   documents put MasterObjects on notice of how the TA backend truly worked. Does Meta contend
                                  3
                                      that these two documents are the only and best Meta documents describing its Unicorn Verticals,
                                  4
                                      how they were built, and how they were used in selecting a TA response? After Mr. Pei’s second
                                  5
                                  6   deposition, MasterObjects can prove otherwise.        The documents Meta did produce contain

                                  7   hyperlinks to technical documents addressing the two Verticals specifically, but do so using Meta’s
                                  8   own opaque nomenclature, as set forth in MasterObjects’ Opening Brief. See Opening Br. (ECF
                                  9
                                      160) at 19:17-25 & 20:10-13. Meta has not produced these documents in this case.
                                 10
                                             On its source code production, scattering (Meta’s word) a few relevant TA code files
                                 11
                                 12   amongst 11 million irrelevant files is concealment, not disclosure. See, e.g., Hosie Reply Dec.,

                                 13   Ex. X, 37:19- 38:2 (“

                                 14
                                 15
                                                                                                                             ”). Meta’s
                                 16
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                                      engineers obviously had the ability to identify Meta code files relevant to TA. Meta has yet to
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                                 17
                                      explain why it produced 11 million code files, all but a few entirely irrelevant.
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                                 18
                                 19   III.   THE DRIVING ISSUE: DID META AND ITS LAWYERS TRULY BELIEVE
                                             THAT THE WITHHELD EVIDENCE COULD NOT BE CREDITED BY JUDGE,
                                 20          JURY OR MASTEROBJECTS?
                                 21
                                             Paragraph 25 of this Court’s Supplemental CMC Order provides as follows:
                                 22
                                                     Counsel may not make arguments or statements to the judge or jury
                                 23                  or opposing counsel that counsel realize are contradicted by
                                                     unproduced material, whether requested or not, when such material
                                 24
                                                     might reasonably be credited by the judge or jury or opposing
                                 25                  counsel. If counsel learns of such adverse material after having
                                                     made a representation or argument, counsel must very promptly
                                 26                  correct the statement or argument and explain the basis for the
                                                     correction. The same is true for interrogatory answers and FRCP
                                 27
                                                     30(b)(6) testimony. This is an exception to the normal rule that
                                 28                  counsel need not volunteer adverse information.

                                             In most cases, it is difficult to prove subjective intent. This is not one such case. Meta’s

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                                  1   discovery responses in this case prove that Meta and its counsel withheld adverse evidence
                                  2   precisely because both understood that this evidence would be critically important to
                                  3
                                      MasterObjects, as against the converse.
                                  4
                                              Meta begins its “we never realized” advocacy by attacking MasterObjects. See Opp. at 9.
                                  5
                                  6   Meta says that MasterObjects is “plainly wrong” in saying that Meta had to understand that

                                  7   MasterObjects might “reasonably credit” the withheld evidence. To explain its contrary position,
                                  8   Meta first provides its own narrow definition of the word “cache,” while pretending to credit the
                                  9
                                      parties’ agreed upon constructions: “In general terms, a cache is a fast type of memory used to
                                 10
                                      temporarily hold data that was previously retrieved from a slower data source so that the data is
                                 11
                                 12   readily available in the faster memory should another request for the same data be received in the

                                 13   near future …. [T]he parties stipulated to a construction of ‘cache’ that tracks its ordinary

                                 14   meaning.” Opp. at 9:16-26; see also id. at 10:26 (“are not small, fast storage ….”). 1
                                 15
                                              Meta then argues that the MasterObjects claims require a cache entirely separate from a
                                 16
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                                      content source, and (counter-factually) concludes that the                                 in the two
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                                 17
                                      Verticals are                                                                    . Meta so says that
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                                 18
                                 19   the two Verticals cannot be “caches,” but must instead be considered

                                 20           This justification is a convoluted house of cards, not a legitimate reason to withhold adverse
                                 21
                                      evidence. Meta’s argument assumes far too much, and takes as a given Meta’s position on many
                                 22
                                      hotly controverted issues. Meta’s justification also misdescribes its own TA system: the TA
                                 23
                                      Verticals containing
                                 24
                                 25
                                 26
                                 27
                                      -           .

                                              Meta also ignores that it knew that Unicorn itself, in conjunction with TA, stood accused:


                                 28   1
                                        In some claims, the parties agreed to construe “cache” as “a store that includes previous query
                                      results retrieved in response to previous queries,” and in others as “a store that includes previous
                                      queries and search results retrieved in response to previous queries.” See ECF 62 at 3.
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                                  1   “the accused instrumentalities include … Typeahead and Unicorn.” Hosie Reply Dec., Ex. Y (May
                                  2   5, 2020 Infringement Contentions) at 2. 2
                                  3
                                              Even crediting Meta’s description of the                            components of its system,
                                  4
                                  5
                                  6
                                  7
                                      the
                                            -      were relevant to non-cache asserted claims and should have been disclosed. Compare

                                      ’024 (ECF 73-1) Claim 1 (“uses the input to query data available to the server system and send

                                      return messages to the client object containing results in response to the input”) with Opp. at 4:16-
                                  8   19 (“
                                  9
                                 10
                                                                                                                   ’”).



                                                                                -
                                 11
                                 12           Further, if Meta believed that the             were “content sources” (and that a cache cannot

                                 13   be a content source), it had to understand that the withheld evidence was squarely relevant to

                                 14   asserted claims that call for “retrieving” result data from “one or more content sources.” See ʼ073
                                 15
                                      (ECF 73-4) Claim 8 (“The method of claim 1, wherein at least a portion of the search result data
                                 16
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                                      is retrieved by the server system from the one or more content sources”), ʼ073 Claim 9 (“The
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                                 17
                                      method of claim 8, wherein retrieving search result data comprises: sending one or more content
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                                 18
                                 19   inquiries to one or more respective content sources; and receiving content data in response to the

                                 20   one or more content inquiries”); see also ’866 (ECF 73-8) Claims 5 & 6.
                                 21
                                              Late in its brief, Meta introduces another justification for its failure to disclose the Unicorn
                                 22
                                      Verticals. Meta argues that                                                for subsequent analysis. It
                                 23
                                      then asserts, without explanation, that these
                                 24
                                 25
                                 26
                                      2
                                        Meta suggests that MasterObjects’ infringement contentions are deficient. See Opp. at 1:11.
                                 27   Meta seems to forget that, following transfer, the parties agreed that the infringement and invalidity
                                      contentions were sufficient under this District’s local rules. See CMC Hr’g Tr., Oct. 21, 2021,
                                 28   9:21-25 (“MR. LUMISH: Doug Lumish for Facebook, Your Honor. Yes, the parties have agreed
                                      that each will not challenge the other’s [contentions] as being non-compliant with the patent local
                                      rules if Your Honor was okay with that. THE COURT: I’m okay with that”).
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                             1   ■, and so are inelevant in this case. See Opp. at 20:3-5 ("there was no reason to identify the
                             2   _             , because ...
                             3
                                 -              ") (italics in original; bold added); id. at 20:21-22 ('
                             4
                                                                                                                              ").
                             5
                             6              This is simply inconect. Of necessity and by design, the TA response to a user is a full

                             7   search que1y. The TA response is engineered so that a user need only click on that response and

                             8   the TA full que1y response is then                                        " It is quite literally hue that the
                             9
                            10
                                                                                               . (The TA system also uses the prior TA
                            11
                                 prefixes, but that is a fight for a different day.)
                            12
                            13              Meta knows this is tme. As Meta's brief admits, its

                            14
                            15
         V")                16
         r---

 --
~-a~
         V")

          v-
                -

                            17
                                                                                                                 "). As Mr. Pei explained in

...:l r;/)                       more detail:
...:l ...r      (5          18
 ~ 8                    ~
·- tl               0
i::t::   r;/)       ~       19
 Q,)
"in
          (1)
          8     ·-
                    g
 0
:I:       0Cl) "'
          A~
               ...          20
          "' A
         r:n  "'
         V") r;/)
         0
                            21
         V")


                            22
                            23
                            24
                            25   Hosie Reply Dec., Ex. Z (second Pei deposition) at 32:2-33:2.

                            26              Meta's assertion that its                                                                        lS

                            27
                                 empirically false.      These
                            28


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                                  1
                                  2
                                  3
                                      -
                                      process.
                                                 .” Far from being irrelevant, these Meta



                                             Finally, if Meta understood the
                                                                                             -           are centrally relevant to its TA



                                                                                                           to be content sources or data
                                  4
                                      sources, why did it not identify them in discovery responses? For example, MasterObjects asked
                                  5
                                  6   Meta to “[i]dentify all … features of the data source … and describe in detail how these … features

                                  7   operate ….” Hosie Reply Ex. AA at 8. MasterObjects defined a “data source” as “any source of
                                  8   information (e.g. a database, hard drive, cache, log, and/or repository) … that is used to provide or
                                  9
                                      predict queries or responses as part of the accused instrumentalities.” Id. at 5. Meta now contends
                                 10
                                 11
                                 12
                                 13
                                      that it understood the



                                      -
                                                                           to be content sources, see Opp. at 10:20-21 (“Unicorn
                                                                                                                                   -
                                              are, at most, what MasterObjects’ infringement contentions say they are: content sources,

                                      not caches”), and equates a content source with a data source. See id. at 10:16-17 (“a separate

                                 14   structure corresponding to one or more content or data sources”) & 19:14-17 (“MasterObjects
                                 15
                                      relies again on the false predicate…: As MasterObjects’ infringement contentions admit, Unicorn
                                 16
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                                      is a data source, …”). Meta so admits that it believed the                were data sources, but did
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                                                           -
                                 17
                                      not identify these          in responding to MasterObjects’ discovery exactly on point. See Hosie
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                                 18
                                 19   Reply Ex. BB.

                                 20          The positions Meta now takes to try and explain away its prior conduct merely confirm
                                 21
                                      that Meta willfully hid the ball from MasterObjects.
                                 22
                                      IV.    MASTEROBJECTS DID NOT DISTORT WITNESS TESTIMONY.
                                 23
                                             Meta heatedly contends that MasterObjects distorted witness testimony through strategic
                                 24
                                 25   omission. Meta cites Finjan, Inc. v. Juniper Network, Inc., No. 17-05659-WHA, 2018 WL

                                 26   4184338 (N.D. Cal. Aug. 31, 2018), as a case directly on point. This is a well-known opinion
                                 27
                                      written by Judge Beth Labson Freeman. Judge Freeman’s opinion shows that Juniper counsel
                                 28
                                      omitted critical language from the asserted claims, thereby manifestly distorting the meaning of


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                                  1   those claims. Meta says that this is exactly what MasterObjects did here.
                                  2           Not hardly. MasterObjects indeed omitted portions of the testimony quoted, as indicated
                                  3
                                      by ellipses. But these deletions in no way distorted the witness’ testimony. MasterObjects
                                  4
                                      attached the full testimony as exhibits to its Opening Brief. Even a quick review of the testimony
                                  5
                                  6   reflects that MasterObjects deleted testimony where the witness obfuscated or pretended to be

                                  7   confused by the question, or simply refused to answer the question. MasterObjects also omitted
                                  8   Meta’s continual objections. MasterObjects would very much have liked to include all of the
                                  9
                                      quoted testimony. The omitted testimony is bad for Meta; it shows that the Meta witnesses were
                                 10
                                      evasive and obstructionist.
                                 11
                                 12           As part of its deception through deletion argument, Meta says that MasterObjects

                                 13   misquoted Mr. Pei’s August 2020 first 30(b)(6) testimony. Meta first contends that Pei truthfully

                                 14   said that the server-side                                   . See Opp. at 13:9-10. This is not quite
                                 15
                                      right. MasterObjects’ counsel understood that Mr. Pei was qualifying his testimony by quibbling
                                 16
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                                      about what the term cache meant and covered. MasterObjects’ counsel so asked the central
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                                 17
                                      question many different times and in many different ways, including questions not using the word
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                                 18
                                 19   cache, but rather “stores,” or “structure,” and the like:

                                 20   •   “
                                 21
                                 22
                                                                    .” See Hosie Reply Dec., Ex. X (Pei Dep., Aug. 12, 2020), 38:17-23.
                                 23
                                 24   •   “

                                 25                                                                                                     .”
                                 26       Id., 39:12-17.
                                 27
                                      •   “
                                 28



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                                  1                                                                   .” Id., 39:19-40:1.
                                  2   •   “
                                  3
                                  4
                                                                                                                      .” Id., 40:3-14.
                                  5
                                  6   •   “

                                  7                                                                                   .” Id., 41:7-12.
                                  8
                                      •   “
                                  9
                                 10
                                 11
                                 12
                                 13
                                 14
                                 15
                                                          .” Id., 46:14-47:3.
                                 16
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                                      (Emphasis added). As is true for Meta’s written discovery responses, Meta cannot defend its non-
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                                 17
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                                 18   disclosure by claiming a contrary understanding of the word cache.

                                 19           Meta further suggests that Mr. Pei directed MasterObjects to relevant Unicorn code at
                                 20
                                 21
                                      “



                                      -
                                      “
                                                                 .” See Opp. at 6:20-22. Hardly. This “
                                                                                                           -      ” folder is within the

                                              ” folder, which is the very folder each of the above questions pertain to. As can been seen
                                 22
                                 23
                                 24
                                 25
                                      from the quotes, Mr. Pei did nothing to direct MasterObjects to anything within the

                                      regarding a

                                      away from this folder: “
                                                                                                                            -      folder

                                                                                                  . Instead, Mr. Pei led MasterObjects



                                 26
                                 27
                                 28

                                      -         .” Hosie Reply Dec., Ex. X, 40:11-13 & 46:14-47:3 (emphasis added).

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                             1              After this misdirection, Mr. Pei then said: '

                             2

                             3
                                                                                ." Hosie Reply Dec. Ex. X, 70:23-71 :2. Mr. Pei directed
                             4
                                 MasterObjects to a ,.               ,, subfolder: '_            ," not an                    folder.   While
                             5

                             6   MasterObjects ' counsel 's question was specific to

                             7                         Mr. Pei 's response was not s

                             8

                             9

                            10
                                            Mr. Pei was then asked a series of questions about folders within .                 , including a
                            11
                                 -          folder labeled'_          ," that use the word •        . Mr. Pei equivocated on each question,
                            12

                            13   responding that he did not know what the code files did:

                            14

                            15

         V")                16
         r---

 --
~-a~
         V")

          v-
                -

                            17
...:l r;/)                                                     ." Id., 80:21-25 , 82:18-21 & 85:14-24. MasterObjects did not misquote
...:l ...r      (5          18
 ~ 8                    ~
·- tl               0
                                 Mr. Pei's testimonial guidance on how MasterObjects should hunt and peck for the relevant TA
i::t::   r;/)       ~       19
 Q,)
"in
          (1)
          8     ·-
                    g
 0        0Cl) "'
:I:
           A~
               ...          20   source code files. Mr. Pei steered MasterObjects away from the relevant files, not th e converse.
          "' A
         r:n  "'
         V") r;/)
                            21
         0
         V")                                Meta does have a valid point, however, about the one Kaver quote it cites so prominently
                            22
                                 in its brief. (This is one quote out of dozens). Read carefully, Mr. Kaver did answer a question
                            23
                                 other than the one asked. But MasterObjects' point that Kaver claimed to
                            24
                            25   -               is exactly right:

                            26

                            27

                            28

                                 See Hosie Reply Dec. , Ex. CC (Kaver Dep., Jun. 22, 2021), 66:23-67:3.

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                             1            On -          function, here is Mr. Kaver's testimony:

                             2
                             3
                             4
                             5
                             6
                             7   Id. , 70: 1-8.

                             8            On                 function:
                             9
                            10
                            11

                            12
                            13
                            14
                            15
         V")                16
         r---

 --
~-a~
         V")

          v-
                -

                            17
...:l r;/)
...:l ...r      (5          18
 ~ 8                    ~
·- tl               0
i::t::   r;/)       ~       19
 Q,)
"in
          (1)
          8     ·-
                    g            Id. , 71 :21-72 :22. And, so it went throughout the deposition.
 0
:I:       0Cl) "'
          A~
               ...          20
          "' A                            Finally, Meta blames MasterObjects for not grilling Mr. Kaver on the Meta doclllllent
         r:n  "'
         V") r;/)
         0
                            21
         V")


                            22   marked as Exhibit 7, one of the two documents Meta claims discloses fully. See Opp. Br. at 7-8.

                            23   MasterObjects ' counsel marked this exhibit after 142 pages of Mr. Kaver denying any technical
                            24
                                 knowledge even at the most basic level about TA. Why beat a dead horse finiher? MasterObjects '
                            25
                                 counsel did ask questions about the second page of the document, specifically abou t - (a
                            26
                                 basic concept in technology development) . Mr. Kaver's testimony on this point is almost comical :
                            27
                            28


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                             1

                             2

                             3

                             4

                             5   Hosie Reply Dec. , Ex. CC, 145:4-1 4. This is the witness th at Meta now claims was going to
                             6
                                 explain the full technical TA backend function to MasterObjects, had MasterObj ects' counsel only
                             7
                                 asked the right questions?
                             8
                                        As to Meta's other disto1i ion through deletion charges, they are proven to be without
                             9

                            10   foundation by even a quick look at th e attached testimony.

                            11   V.     META'S MISCELLANEOUS ARGUMENTS.
                            12
                                        A.      MasterObjects Did Not Prepare its Sanctions Motion in Two Days and File it
                            13                  in Bad Faith.

                            14          Meta argues with considerable vitriol that MasterObjects slapped-together its sanctions

                            15   motion in two days, an d filed it in bad faith to preempt Meta motions to preclude that Meta counsel
         V")                16
         r---                    said it would file in Magistrate Judge Ryu's comi. Meta's evidence of bad faith is the following:
 --
~-a~
         V")

          v-
                -

                            17
                                 "The Motion is manifest with evidence of haste, including typos in the motion title, cover page,
...:l r;/)
...:l ...r      (5          18
 ~ 8                    ~
·- tl               0
                    ~
                                 an d body."
i::t::   r;/)               19
 Q,)
"in
          (1)
          8     ·-
                    g
 0
:I:       0Cl) "'
          A~
               ...          20          Hardly. As to typos, th ere are typos in the cover page (which Mr. Hosie did not prepare).
          "' A
         r:n  "'
         V") r;/)
         0
                            21   There are three typos in the body of the motion: 17:14, "id," should be "id."; 23: 14, "counsels"
         V")


                            22
                                 should be "counsels"'; and 25: 18, "lies "' should be "lies"". This is "manifest" evidence of haste
                            23
                                 an d malign motive?
                            24
                                        MasterObjects began working on the motion in June. See Hosie Reply Dec. , ,i 2. It could
                            25

                            26   not and did not write this motion in two days.

                            27          B.      Meta's Brief Devotes Four Pages to Attacking MasterObjects' Lead Counsel
                                                Spencer Hosie Personally.
                            28
                                        Oddly, Meta's brief dedicates two pages to castigating MasterObjects' lead lawyer Spencer

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                                  1   Hosie. Meta’s criticism is trivial on its face. Meta says that Mr. Hosie sends far too many emails
                                  2   (true; Mr. Hosie sends many emails, as this is one way of moving cases forward). Meta then
                                  3
                                      complains that Mr. Hosie’s emails contain far too many typos (also true; Mr. Hosie is a terrible
                                  4
                                      typist, especially on mobile devices). Meta complains that Mr. Hosie presses too hard, sets
                                  5
                                  6   unreasonable deadlines, and has been too quick to question the veracity of Meta witness testimony

                                  7   (not true: Mr. Hosie’s obligation is to be a zealous advocate for his client, and he does his best to
                                  8   honor this obligation). Meta also says that Mr. Hosie was rude in one meet and confer session.
                                  9
                                      Yes, tempers occasionally flared on both sides in this contentious case.
                                 10
                                             The more interesting question is this: what legitimate motive led Meta to include this
                                 11
                                 12   personal attack in its Opposition? This attack is utterly irrelevant to the issues at hand, as Meta

                                 13   counsel undeniably understand.

                                 14   VI.    CONCLUSION.
                                 15
                                             Meta closes its brief by saying that MasterObjects’ requested remedy is too harsh. If
                                 16
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                                      anything, MasterObjects’ requested remedy, a curative instruction and an order deeming that Meta
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                                 17
                                      practiced the claim limitation, is too modest. On this factual record, most firms would stridently
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                                 18
                                 19   seek terminating sanctions. The remedy MasterObjects requests is narrowly tailored to address,

                                 20   at least in small part, the prejudice MasterObjects incurred given Meta’s misconduct. For example,
                                 21
                                      MasterObjects learned the truth just as discovery closed. It had no opportunity to do follow-on
                                 22
                                      discovery; it had no opportunity to seek the relevant documents from Meta. MasterObjects will
                                 23
                                      scramble, as it must, but Meta’s failure to disclose manifestly hurt MasterObjects.
                                 24
                                 25          Meta concludes by suggesting that the Court award monetary sanctions instead. This is a

                                 26   matter vested in this Court’s sound discretion, and the Court undoubtedly will do what the Court
                                 27
                                      considers just.
                                 28
                                      Dated: August 8, 2022                         /s/ Spencer Hosie


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